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                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI


CHARLOTTE DEAN DAVIS                                               CASE NO.: 21-01647-JAW
PATRICK K. DAVIS

DEBTORS                                                                         CHAPTER 7

                         ____________________________________


CHARLOTTE DEAN DAVIS
PATRICK K. DAVIS                                                                 PLAINTIFFS

V.                                                           ADV. PRO. NO.: 23-00003-JAW

ITAVIUS BURKS; ALISON CRAPPS,
SCOTT COUNTY TAX ASSESSORS;
BETTY ODOM, JUSTICE COURT CLERK;
MISSISSIPPI DEPARTMENT OF REVENUE                                             DEFENDANTS


                    MISSISSIPPI DEPARTMENT OF REVENUE’S
             ANSWER TO AMENDED COMPLAINT TO SET ASIDE TAX SALE

        COMES NOW Defendant, Mississippi Department of Revenue (“MDOR”), through

undersigned counsel, files this Answer to the Plaintiffs’ Amended Complaint (Dkt. 9):

        1.     MDOR admits the allegations in Paragraphs 1-4.

        2.     MDOR lacks sufficient knowledge as to the facts in Paragraphs 5-8 and therefore

denies the same.

        3.     MDOR denies the allegation in Paragraph 9. Under Fed. R. Bankr. P. 7004(b)(6)

and M.R.C.P. Rule 4(d)(5), proper service on MDOR requires the Debtors to deliver a copy of

the summons and complaint to the Attorney General for the State of Mississippi. MDOR states

that it has now been properly served: The Attorney General has advised MDOR that it received a

copy of the summons and complaint on March 7, 2023.



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       4.      MDOR lacks sufficient knowledge as to the facts in Paragraph 10 and therefore

denies the same.

       5.      In response to Paragraph 11, MDOR admits that, upon receiving an application

for title from the Scott County Tax Assessor (acting as Designated Agent), it issued title to the

mobile home that is the subject of this action to Itavius Burks. Further, MDOR records show that

on March 15, 2023 the Scott County Tax Assessor (acting as Designated Agent) cancelled that

titling transaction. As a result, the mobile home is currently untitled. MDOR denies any other

allegations contained in Paragraph 11.

       6.      MDOR lacks sufficient knowledge as the facts in Paragraphs 12-15 and therefore

denies the same.

       7.      Additionally, MDOR states that it is the agency responsible for issuing certificates

of title and that it shall abide by any lawful order of this Court regarding the titling of the mobile

home that is the subject of this action.

       WHEREFORE, PREMISES CONSIDERED, MDOR requests that this Court determine

the rights of the parties herein and enter the appropriate Order. MDOR also requests any other

relief, general or specific, which the Court may deem appropriate.

       RESPECTFULLY SUBMITTED, March 20, 2023.



                                               MISSISSIPPI DEPARTMENT OF REVENUE

                                               BY:      /s/Sylvie D. Robinson
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                                 CERTIFICATE OF SERVICE

       I, Sylvie D. Robinson, attorney for the MDOR, hereby certify that I have this day filed the

foregoing document electronically via the ECF filing system, which caused notice of such filing

to be sent to all registered ECF participants.

               March 20, 2023

                                                 s/Sylvie D. Robinson
                                                 Sylvie D. Robinson




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